BO

Case 1:03-md-01570-GBD-SN Document 2001 Filed 08/02/07 Page 1 of 1

Case 1:03-md-01570-GBD-FM Document 1479 Filed 11/11/2005 Page 1 of 2

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

[IN RE TERRORIST ATTACKS
SEPTEMBER 11, 2001

This document relates to:
O3 CY 697 #(4Bp)
Federal Ins., et al
Plaintiffs

Vv.

Al Qaeda Islamic, ef al.

Defendants

CaseNo. O3 MDL 16 70 (cad)

STIPULATION AND ORDER OF DEFENDANT INTERNATIONAL ISLAMIC
RELIEF ORGANIZATION TO EXTEND TIME FOR FILING A RESPONSIVE
PLEADING TO PLAINTIFFS’ COMPLAINT

IT IS HEREBY STIPULATED and agreed by Plaintiffs and Defendant

{International Islamic Relief Organization, by and through undersigned counsel, that:

Defendant’s time to answer Plaintiff's Complaint is extended unti] December 5,

2005.
DATED this 11" day of November, 2005
FOR PLAINTIFFS

/s/
Scott Tarbutton
Cozen O’Connor
1900 Market St.
Philadelphia, Pa. 19103
(215) 665-2000

SO ORDERED

Geaupe EB Dink

oN, GEORGE B. DANIELS

‘SUL 2 0 2007

FOR DEFENDANT

isi
Martin F. McMahon
Martin F. McMahon & Associates
1150 Connecticut Ave. N.W., Suite 900
Washington, DC 20036
(202) 862-4343

